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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO. 1:18-CR-00032-DLF

INTERNET RESEARCH AGENCY LLC., et
al.,

       Defendants.



DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S UNOPPOSED
            MOTION FOR LEAVE TO FILE EXCESS PAGES

       Pursuant to Local Criminal Rule 47, Defendant Concord Management and Consulting

LLC (“Defendant” or “Concord”), by and through undersigned counsel, respectfully moves for

leave for an extension of the page limitations set forth in Local Criminal Rule 47(e). Defendant

requests leave to include an additional five (5) pages in connection with the briefing on its

upcoming motion to dismiss the indictment based on a challenge to the authority of the Special

Counsel. Pursuant to the Court’s June 4, 2018 Order (Dkt. No. 21), this motion will be filed on

or before June 25, 2018. Defendant seeks this relief in order to ensure that the issues raised in

the motion can be fully presented to the Court.

       Defendant has conferred with the Special Counsel’s Office, which does not oppose this

request.

       A proposed order is filed contemporaneously with this Motion.

Dated: June 19, 2018                              Respectfully submitted,
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                               CONCORD MANAGEMENT AND
                               CONSULTING LLC

                               By Counsel

                               /s/

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